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                                                                  Order Filed on November 20, 2017
                                                                               by Clerk
                                                                       U.S. Bankruptcy Court
                                                                        District of New Jersey




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